Dear Senator Johnson:
You have requested an opinion of the Attorney General's Office as to whether a person who serves on a state board or commission without compensation can also be employed as a full-time state employee.
Assuming that both positions are in the executive branch of government and that there are no conflicts of interest, it is the opinion of this office that a full-time state employee may simultaneously be a member of a state board or commission, provided that the appointive position on the board or commission is part-time.
If you desire a more specific opinion, please advise us as to the specific positions and we will be happy to respond.
Very truly yours,
                           RICHARD P. IEYOUB Attorney General
                           BY: KENNETH C. DEJEAN Assistant Attorney General
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